Petition for Writ of Mandamus Denied and Memorandum Opinion filed
August 15, 2024.




                                     In The

                    Fourteenth Court of Appeals

                               NO. 14-24-00273-CV



                       IN RE C. H. AND L. H., Relators


                         ORIGINAL PROCEEDING
                           WRIT OF MANDAMUS
                              257th District Court
                             Harris County, Texas
                       Trial Court Cause No. 2019-33397

                        MEMORANDUM OPINION

      On April 15, 2024, relators C. H. and L. H. filed a petition for writ of
mandamus in this Court. See Tex. Gov’t Code Ann. § 22.221; see also Tex. R.
App. P. 52. In the petition, relators ask this Court to compel the Honorable Sandra
Peake, presiding judge of the 257th District Court of Harris County, to vacate the
trial court’s March 18, 2024 order denying relators’ motion to transfer venue.

      Relators have not established that they are entitled to mandamus relief.
Accordingly, we deny relators’ petition for writ of mandamus.


                                   PER CURIAM

Panel consists of Justices Jewell, Bourliot, and Poissant.




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